                 Case 2:12-cv-00883-RAJ Document 13 Filed 09/12/12 Page 1 of 5




 1                                                       THE HONORABLE RICHARD A. JONES

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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
 9
     A THINKING APE, INC., a Delaware corporation,            CASE NO.: 2:12-cv-00883 RAJ
10

11                   Plaintiff,                               STIPULATION FOR DISMISSAL
                                                              WITH PREJUDICE
12          v.

13   LODSYS GROUP, LLC, a Texas limited liability
     company,
14

15                   Defendant.

16

17          All claims and counterclaims asserted in this action by and between Plaintiff A Thinking
18   Ape, Inc. and Defendant Lodsys Group, LLC have been settled. Accordingly, pursuant to Fed.
19   R. Civ. P. 41(a)(1)(A)(i), Plaintiff A Thinking Ape, Inc. and Defendant Lodsys Group, LLC
20   hereby request dismissal of all claims between them in this action with prejudice and with each
21   party to bear its own costs, expenses, and attorneys’ fees.
22          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), this notice of dismissal is being filed before
23   Defendant Lodsys Group, LLC has served an answer or a motion for summary judgment.
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     STIPULATION FOR DISMISSAL WITH                    -1-                  WILSON SONSINI GOODRICH & ROSATI
     PREJUDICE                                                                  701 Fifth Avenue, Suite 5100
     CASE NO. 2:12-CV-00883 RAJ                                                   Seattle, WA 98104-7036
                                                                                    Tel: (206) 883-2500
                                                                                    Fax: (206) 883-2699
             Case 2:12-cv-00883-RAJ Document 13 Filed 09/12/12 Page 2 of 5




 1                                      Respectfully submitted,
 2   Dated: September 12, 2012          s/ Inessa Baram-Blackwell
                                        Inessa Baram-Blackwell, WSBA #39904
 3                                      WILSON SONSINI GOODRICH & ROSATI
                                        Professional Corporation
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                                        Seattle, WA 98104-7036
 5                                      Telephone: (206) 883-2500
                                        Facsimile: (206) 883-2699
 6                                      Email: ibaramblackwell@wsgr.com
 7                                      Nicole W. Stafford, admitted Pro Hac Vice
                                        WILSON SONSINI GOODRICH & ROSATI
 8                                      Professional Corporation
                                        900 South Capital of Texas Highway
 9                                      Las Cimas IV, Fifth Floor
                                        Austin, TX 78746
10                                      Telephone: (512) 338-5400
                                        Facsimile: (512) 338-5499
11                                      Email: nstafford@wsgr.com
12                                      Attorneys for Plaintiff A THINKING APE, INC.
13

14   Dated: September 12, 2012          s/ Christopher M. Huck
                                        Christopher M. Huck, WSBA #34104
15                                      KELLEY, GOLDFARB, GILL, HUCK & ROTH, PLLC
                                        700 Fifth Avenue, Suite 6100
16                                      Seattle, Washington 98104
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17                                      Facsimile: (206) 397-3062
                                        Email: huck@kdg-law.com
18
                                        Attorney for Defendant LODSYS GROUP, LLC
19

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     STIPULATION FOR DISMISSAL WITH        -2-                    WILSON SONSINI GOODRICH & ROSATI
     PREJUDICE                                                        701 Fifth Avenue, Suite 5100
     CASE NO. 2:12-CV-00883 RAJ                                        Seattle, WA 98104-7036
                                                                          Tel: (206) 883-2500
                                                                          Fax: (206) 883-2699
                 Case 2:12-cv-00883-RAJ Document 13 Filed 09/12/12 Page 3 of 5



                                       CERTIFICATE OF SERVICE
 1

 2            I hereby certify that on September 12, 2012, I filed the foregoing with the Clerk of the
 3   Court using the CM/ECF system, and served all parties via ECF.
 4   Dated: September 12, 2012
 5
                                                           s/ Inessa Baram-Blackwell
 6                                                         Inessa Baram-Blackwell, WSBA #39904

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     CERTIFICATE OF SERVICE                                                  WILSON SONSINI GOODRICH & ROSATI
                                                                                 701 Fifth Avenue, Suite 5100
     CASE NO. 2:12-CV-00883 RAJ                                                    Seattle, WA 98104-7036
                                                                                     Tel: (206) 883-2500
     5133511_3.DOCX                                                                  Fax: (206) 883-2699
                 Case 2:12-cv-00883-RAJ Document 13 Filed 09/12/12 Page 4 of 5




 1                                                     THE HONORABLE RICHARD A. JONES

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 6
                                 UNITED STATES DISTRICT COURT
 7                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
 9

10   A THINKING APE, INC., a Delaware corporation,         CASE NO.: 2:12-cv-00883 RAJ

11                   Plaintiff,                            [PROPOSED] ORDER GRANTING
                                                           DISMISSAL WITH PREJUDICE
12          v.
13   LODSYS GROUP, LLC, a Texas limited liability
14   company,

15                   Defendant.

16

17          In consideration of Plaintiff A Thinking Ape, Inc.’s notice of voluntary dismissal of all
18   claims between Plaintiff A Thinking Ape, Inc. and Defendant Lodsys Group, LLC, it is
19   ORDERED that all claims and counterclaims asserted in this suit between Plaintiff A Thinking
20   Ape, Inc. and Defendant Lodsys Group, LLC are hereby dismissed with prejudice.
21          It is further ORDERED that all attorneys’ fees, expenses, and costs are to be borne by the
22   party that incurred them.
23   Dated this ____ day of _________________, 2012.
24
                                                 HONORABLE RICHARD A. JONES
25                                               UNITED STATES DISTRICT JUDGE
26

27

     [PROPOSED] ORDER GRANTING DISMISSAL             -1-                  WILSON SONSINI GOODRICH & ROSATI
                                                                              701 Fifth Avenue, Suite 5100
     WITH PREJUDICE                                                             Seattle, WA 98104-7036
     CASE NO. 2:12-CV-00883 RAJ                                                   Tel: (206) 883-2500
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              Case 2:12-cv-00883-RAJ Document 13 Filed 09/12/12 Page 5 of 5




 1   Presented by:

 2   s/ Inessa Baram-Blackwell
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14   s/ Christopher M. Huck
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18
     Attorney for Defendant LODSYS GROUP, LLC
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     [PROPOSED] ORDER GRANTING DISMISSAL            -2-     WILSON SONSINI GOODRICH & ROSATI
                                                                701 Fifth Avenue, Suite 5100
     WITH PREJUDICE                                              Seattle, WA 98104-7036
     CASE NO. 2:12-CV-00883 RAJ                                     Tel: (206) 883-2500
                                                                    Fax: (206) 883-2699
